Case

 

b:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 1of1i2 Page ID #:186

FREEMAN MATHIS & GARY, LLP
MATTHEW S. JONES (State Bar No. 292037)

miones@imelaw com
HET (State Bar No. 341006)

Mary.planchet@fmglaw.com

550 South Hope Street, 22nd Floor
Los Angeles, California 90071-2627
(213) 615-7000; FAX (213) 615-7100

Attorneys for Defendant

ACCELERANT SPECIALTY INSURANCE
COMPANY
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

OMNI KING, INC., Case No. 5:23-cv-00048-SSS (KKx)

District Judge Sunshine S. Sykes

Plaintiff, Magistrate Judge Kenly Kiya Kato
V.
DEFENDANT ACCELERANT

ACCELERANT SPECIALTY SPECIALTY INSURANCE

INSURANCE COMPANY; SEDGWICK ) COMPANY’S NOTICE OF
CLAIMS MANAGEMENT SERVICES, MOTION AND MOTION TO

INC., and DOES 1-25, STRIKE PUNITIVE DAMAGES
FROM PLAINTIFF’S
Defendants. COMPLAINT PURSUANT TO

FRCP 12(f) AND MOTION TO
DISMISS PLAINTIFF’S BREACH
OF CONTRACT CAUSE OF
ACTION PURSUANT TO FRCP
12(b)(6)

[Filed concurrently with Declaration
of Matthew S. Jones; [Proposed]
rder|

Date: April 7, 2023

Time: 2:00 p.m.

Courtroom: 2

Complaint Filed: November 17, 2022
Trial Date: None set

TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
PLEASE TAKE NOTICE that on the above date and time, or as soon

 

thereafter as the parties may be heard, Defendant Accelerant Specialty Insurance

Company (“Accelerant”) will and hereby does move this Court, located at 3470 12"

 

-l-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND

 

MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
 

Casell5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 2 0f12 Page ID #:187

1 || Street, Riverside, CA 92501, Courtroom 2, for an Order striking the following

2 || portions of Plaintiff Omni King, Inc. (“Plaintiff’)’s Complaint (“Complaint”):
3 || pursuant to Federal Rule of Civil Procedure 12(f):
4 1. Page 6, lines 14-17: “In doing the acts described herein, Defendants’
5 conduct was done with a conscious disregard of Plaintiff's rights such as to
6 constitute oppression, fraud, or malice as defined under California Civil
7 Code Section 3294 thus, entitling Plaintiff to punitive damages in an
8 amount appropriate to punish or set an example of Defendants.”
9 2. Page 7, lines 25-28: “In doing the acts described herein, Defendants’
10 conduct was done with a conscious disregard of Plaintiffs rights such as to
11 constitute oppression, fraud, or malice as defined under California Civil
12 Code Section 3294 thus, entitling Plaintiff to punitive damages in an
13 amount appropriate to punish or set an example of Defendants.”
14 3. Page 8, lines 2-6: “WHEREFORE, Plaintiff prays for judgment and relief
15 as follows...(c) Punitive and exemplary damages in an amount appropriate
16 to punish or set an example of defendants...”
17 Accelerant also moves this Court for an Order Dismissing Plaintiff's Breach of

18 || Contract Cause of Action pursuant to Federal Rule of Civil Procedure 12(b)(6) for
19 || failure to state a claim upon which relief can be granted. Plaintiffs allegations are
20 || insufficient to state a claim against Accelerant for Breach of Contract for the

21 || following reasons:

22 1. Plaintiff cannot establish a breach of contract or resulting damage based on
23 Plaintiff's allegation that Accelerant failed to pay Plaintiff under the Policy,
24 as Defendant Sedgwick Claims Management Services (“Sedgwick”) paid
25 Plaintiff's claim on January 12, 2023.

2. Because Plaintiff's claim was paid, Plaintiff did not suffer the requisite
damages to prevail on a breach of contract cause of action.

3. Since Sedgwick has paid Plaintiff’s claim under the Policy and pursuant to

 

 

-2-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 

 
Cas@|5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 30f12 Page ID #:188

1 the Policy terms, Plaintiff's Breach of Contract cause of action fails.
2 Accelerant joins the Motion to Strike Punitive Damages and the Motion to
3 || Dismiss Plaintiff's Breach of Contract Cause of Action pursuant to Federal Rule of

4 || Civil Procedure 12(f).

5 This motion is made following the written meet and confer efforts of counsel
6 || pursuant to Local Rule 7-3. The parties were unable to resolve the dispute, thus

7 || necessitating the instant Motions.

8

9 || Respectfully submitted,

10 | Dated: February 17, 2023
11

 

12 By:

13 Matthew S. ses Esq.
Mary K. Plarichet, Esq.

14 Attorneys for Defendant

15 ACCELERANT SPECIALTY
INSURANCE COMPANY

 

16
17
18
19
20
21
22
23
24

25

 

 

-3-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 

 
 

Case

nA SB Ww KN

oO Co NS DN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 40f12 Page ID #:189

MEMORANDUM OF POINTS AND AUTHORITIES
I INTRODUCTION

Plaintiff Omni King, Inc. (“Plaintiff”) filed this lawsuit against Defendants
Accelerant Specialty Insurance Company (“Accelerant”) and Sedgwick Claims
Management Services, Inc. (“Sedgwick”) (collectively, “Defendants”), asserting
theories of recovery for (1) Breach of Contract; (2) Breach of Implied Covenant of
Good Faith and Fair Dealing; and (3) Negligent Misrepresentation. Plaintiff's claims
arise out of Plaintiff's allegations of Accelerant’s “bad faith” refusal to pay benefits
to Plaintiff pursuant to the Vehicle Physical Damages Coverage under Accelerant’s
insurance policy, and alleged intentional and negligent misrepresentations made by
Accelerant’s claims adjuster, Sedgwick.

Plaintiff seeks several different forms of relief under its Complaint, including
punitive damages for its (1) Second Cause of Action for Breach of the Implied
Covenant of Good Faith and Fair Dealing; and (2) Third Cause of Action for
Negligent Misrepresentation. However, Plaintiff fails to plead sufficient facts to
support its claim for punitive damages. Instead, the Complaint contains only
conclusory allegations that Accelerant acted with a conscious disregard of Plaintiff's
rights such as to constitute oppression, fraud, or malice as defined under California
Civil Code Section 3294. However, Plaintiff does not allege any ultimate facts that, if
true, would show that Accelerant is guilty of malicious, oppressive, or fraudulent
conduct, such that Plaintiff does not even satisfy the more liberal pleading standards
set forth in the Federal Rules of Civil Procedure, Rules 8 and 9, which govern this
matter.

These pleading deficiencies cannot stand. Because Plaintiff has failed to
adequately plead its claim for punitive damages, Accelerant respectfully requests that
the Court order Plaintiffs claims for punitive damages be stricken from the
Complaint, as specifically set forth in Accelerant’s Notice of Motion to Strike

Portions of Plaintiff's Complaint, as an improper and unsupported claim for relief.

 

-4-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND

 

MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
Case

>

~s ND WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 5of12 Page ID #:190

Additionally, Plaintiffs cause of action for Breach of Contract fails and should
be dismissed. In its Complaint, Plaintiff alleged a “Breach of Contract” cause of
action and established the existence of the contract and Plaintiff's performance of the
contract. However, Plaintiff cannot establish a breach or resulting damage based on
lack of payment under the Policy. Sedgwick paid Plaintiff's claim on January 12,
2023.

Plaintiff therefore did not suffer the requisite damages to prevail on a breach of
contract cause of action. Since Sedgwick has now paid the claim, the breach of
contract cause of action fails. There is no breach of contract since the claim was paid
under the Policy and pursuant to the Policy terms. Therefore, Accelerant respectfully
requests that the Court dismiss the Breach of Contract cause of action.

Il. FACTUAL BACKGROUND

The allegations in the Complaint surround Accelerant’s issuing to Plaintiff a
Motor Carrier Cargo Legal Liability and Vehicle Physical Damage Insurance Policy,
Policy Number S0021PK003058-00 (“Policy”). The Policy provided insurance
benefits to Plaintiff in the event a scheduled vehicle was involved in a collision while
in transit. Specifically, the Policy provided to pay the insured either the actual cash
value of the vehicle or to repair the vehicle, whichever was less, in the event of a
collision. Complaint, Jf 9-10.

Plaintiff alleges it paid all premiums due under the Policy and performed all
obligations under the Policy. /d. at § 11. On June 1, 2022, Plaintiff suffered a loss
covered under the Policy. Specifically, a scheduled vehicle, a 2019 Freightliner
Tractor/Trailer, VIN No. 3AKJHHDR3KSKE2912, was involved in a collision,
sustaining damage that rendered it inoperable. /d. at § 12. Plaintiff alleges it timely
notified Defendants of the claim and tendered proof of loss as required under the
Policy. Plaintiff further alleges it cooperated with the investigation of the claim and
provided all documents and information required by Accelerant to properly adjust

and pay the claim. /d. at § 13.

 

-5-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND

 

MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
 

Case

Oo Oo “SN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 6of12 Page ID #:191

Finally, Plaintiff alleges Accelerant failed and refused to pay Plaintiffs claim.
Plaintiff further alleges Accelerant refused to communicate with Plaintiff and/or
advise Plaintiff of the status of the claim and ignored Plaintiff's attempts to obtain
information regarding the status of the claim. Jd. at § 14. However, on January 12,
2023, Sedgwick paid Plaintiffs claim pursuant to the Policy terms. Therefore,
Plaintiff's claim that Accelerant failed and refused to pay Plaintiff's claim fails.

Further, Plaintiff fails to allege the requisite facts to support a finding of
punitive damages. Particularly, as “support” for its claim for punitive damages,
Plaintiff asserts that “Defendants’ conduct was done with a conscious disregard of
Plaintiff's rights such as to constitute oppression, fraud or malice as defined under
California Civil Code Section 3294, thus entitling Plaintiff to punitive damages in an
amount appropriate to punish or set an example of Defendants.” /d. at {J 28, 40.
However, Plaintiff alleges no facts to support a finding of malice, oppression, or
fraud on Accelerant’s part.

I. LEGAL STANDARDS
a. Accelerant’s Joined Motions to Strike Punitive Damages and Dismiss
Plaintiff's Breach of Contract Cause of Action

Federal Rule of Civil Procedure (“FRCP”) 12(g)(1) provides that a motion
made under Rule 12 may be joined with any other motion allowed by Rule 12.
Therefore, Accelerant submits this joined Motion to Strike Punitive Damages from
Plaintiff's Complaint and Motion to Dismiss the Breach of Contract Cause of Action
from Plaintiff's Complaint.

b. Accelerant’s Motion to Strike Plaintiff?’s Request for Punitive Damages

FRCP 12(f)(2) provides that on motion made by a party before responding to
the pleading, a court may strike from a pleading any immaterial or impertinent
matter. “An ‘impertinent’ matter consists of statements that do not pertain and are
unnecessary to the issues in question.” Wilkerson v. Butler, 229 F.R.D. 166, 170
(E.D. Cal. 2005). A motion to strike is appropriate if a complaint seeks types of relief

 

-6-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND

 

MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
 

Case

oOo ns N

‘Oo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 7 of12 Page ID #:192

that are unrecoverable as a matter of law. Bureerong v. Uvawas, 922 F. Supp. 1450,
1479 n.34 (C.D. Cal. 1996). Specifically, a prayer for punitive damages will be
stricken where a party is not entitled to such damages. Wilkerson, 229 F.R.D. at 172.
As such, Rule 12(f) motions to strike help to “avoid the expenditure of time and
money that must arise from litigating spurious issues by dispensing with those issues
prior to trial.” Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983).

c. Accelerant’s Motion to Dismiss Plaintiff's Breach of Contract Cause of

Action

A defendant may move to dismiss a claim under FRCP 12(b)(6) if the plaintiff
fails to state a claim upon which relief can be granted. The Federal Rules require a
pleading to include a “short and plain statement of the claim showing that the pleader
is entitled to relief.” FRCP 8(a)(2).

A viable complaint “must contain sufficient factual matter, accepted as true, to
state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009) (internal quotations omitted). “[A] plaintiff's obligation to provide the
grounds of his entitlement to relief requires more than labels and conclusions, and a
formulaic recitation of a cause of action’s elements will not do.” Bell Atlantic Corp.
v. Twombly, 550 U.S. 544, 555 (2007) (internal quotations omitted). While the Court
generally is limited in its review to the facts alleged in the complaint while reviewing
a motion to dismiss, the Court may consider “documents incorporated into the
complaint by reference, and matters of which a court may take judicial notice.”
Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

Courts are not required to accept as true conclusory allegations, unreasonable
inferences, or unwarranted deductions of fact. Monzarek v. St. Paul Fire & Marine
Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Courts also are not required to accept
as true “allegations that contradict matters properly subject to judicial notice or by
exhibit.” St Clare v. Gilead Scis., Inc. (In re Gilead Scis. Sec. Litig.), 536 F.3d 1049,
1055 (9th Cir. 2008).

 

-7-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
 

 

Casell5:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 8 of12 Page ID #:193

nm BR WW NN

oO S&S NN AN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

IV. ARGUMENT
a. Plaintiff Fails to Allege Requisite Facts to Support an Award of
Punitive Damages

Where a complaint seeks punitive or exemplary damages, California Civil
Code, section 3294 requires that the plaintiff establish “oppression, fraud, or malice.”
Brousseau v. Jarrett, 73 Cal. App. 3d 864, 872 (1977). Punitive damage allegations
are improper where there are no facts alleged to show that a party acted with malice,
oppression, or fraud. See Smith v. Superior Court, 10 Cal. App. 4th 1033, 1041-42
(1992).

California Civil Code, section 3294 defines “oppression” as “despicable
conduct that subjects a person to cruel and unjust hardship in conscious disregard of
that person’s rights.” Section 3294 also states that “fraud” means “an intentional
misrepresentation, deceit, or concealment of a material fact known to the defendant
with the intention on the part of defendant of thereby depriving a person of property
or legal rights or otherwise causing injury.” Section 3294 provides that “malice”
means “conduct which is intended to cause injury to the plaintiff or despicable
conduct which is carried on by the defendant with a willful and conscious disregard
of the rights and safety of others.” Courts have further indicated that to support a
claim for punitive damages, a complaint must contain facts that would indicate evil
motive and intent to injure on the part of defendant. See Ebaugh v. Rabkin, 22 Cal.
App. 3d 891, 894-95 (1972) (emphasis added); Cyrus v. Haveson, 65 Cal. App. 3d
306, 316-17 (1976) (holding that the facts demonstrating defendant’s oppression,
fraud, or malice must be alleged).

Moreover, under controlling authority, fairness to defendants requires that
claims for punitive damages be pled with specificity. See G.D. Searlen & Co. v.
Superior Court, 49 Cal. App. 3d 22, 29 (1975).

It is not enough to simply plead in a conclusory fashion that defendants acted

with oppression, fraud, or malice. See Cyrus, 65 Cal. App. 3d at 316-17. Rather, a

 

 

-8-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
 

Case

Oo CO NN DN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

b:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 9of12 Page ID #:194

plaintiff must specifically state facts illustrating such action on the part of defendants.
See Smithson v. Sparber, 123 Cal. App. 225, 232 (1932).

Moreover, merely pleading that a defendant acted in “reckless disregard” or
made “an error or omission” is not sufficient to sustain a punitive damages claim.
Jackson v. E. Bay Hosp., 980 F. Supp. 1341, 1354 (N.D. Cal. 1997). In Jackson, the
court acknowledged that determinations regarding adequacy of pleadings are
governed by the FRCP when a federal court exercises diversity jurisdiction. Jd. at
1353-54. Pursuant to those rules, a pleading need only contain a short and plain
statement of the claim showing the pleader is entitled to relief and a demand for
judgment for the relief the pleader seeks, per FRCP 8. Jd. Therefore, despite Civil
Code 3294’s requirement that a pleading allege oppression, fraud, or malice, the
defendant’s conduct may be averred generally. /d.

Nevertheless, even under the relaxed FRCP standards, the plaintiff in Jackson
failed to adequately allege oppression, fraud, or malice because the plaintiff merely
alleged the defendants acted with reckless disregard and failed to allege oppression,
fraud, or malice that did not satisfy section 3294, either specifically or generally.
“Reckless disregard” did not meet the callous or “willful and conscious disregard”
standard of section 3294. Jd. Furthermore, each act was an error or omission, which
did not rise to the level of oppression, fraud, or malice. Id.

Like the plaintiff in Jackson, here, Plaintiff has not properly asserted a claim
for fraud, nor has Plaintiff alleged sufficient facts to show “malice” or “oppression”
within the meaning of the California statute for punitive damages. The Complaint
contains only conclusory allegations to “support” Plaintiff's claim for punitive
damages for its (1) Second Cause of Action for Breach of the Implied Covenant of
Good Faith and Fair Dealing; and (2) Third Cause of Action for Negligent
Misrepresentation. Therefore, Plaintiff has failed to satisfy the general pleading
requirement of FRCP 8, and falls far below satisfying the requirement to allege

oppression, malice, or fraud as required by California Civil Code section 3294.

 

-9-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND

 

MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
 

Case p:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 10 0f12 Page ID #:195

Ww

oO Co NN DN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Jackson acknowledged analysis of this issue under section 3294, despite being
governed by the FRCP with respect to pleading specifications. In that same vein,
numerous California cases, dealing with this issue at the pleading stage, provide that
a plaintiff must allege facts describing specific conduct that is oppressive, fraudulent,
or malicious. See Monge v. Superior Court, 176 Cal. App. 3d 503, 511 (1986) (the
underlying complaint provided descriptive factual allegations showing that the only
ostensible motive for defendants’ injurious conduct was to vex, harass, and annoy
plaintiffs by subjecting them to an oppressive job environment); Perkins v. Superior
Court, 117 Cal. App. 3d 1, 5-7 (1981) (the terms “wrongfully and intentionally” and
“in retaliation” are not objectionable terms in a pleading when sufficient facts are
alleged to support the allegation); James v. Herbert, 149 Cal. App. 2d 741, 749-50
(1957) (plaintiff specifically alleged details of fraud and malice in her complaint).

Here, as “support” for its claim for punitive damages, Plaintiff asserts that
“Defendants’ conduct was done with a conscious disregard of Plaintiff's rights such
as to constitute oppression, fraud or malice as defined under California Civil Code
Section 3294, thus entitling Plaintiff to punitive damages in an amount appropriate to
punish or set an example of Defendants.” See Plaintiff's Complaint at {J 28, 40.
However, Plaintiff alleges no facts to support a finding of malice, oppression, or
fraud on Accelerant’s part. Plaintiff fails to provide any details as to how Accelerant
engaged in any conduct that was malicious, oppressive, or fraudulent. Moreover,
Plaintiff has failed to establish any facts that would support an award of punitive
damages and has failed to specify which specific conduct of Accelerant is even being
referenced. Simply calling a defendant’s conduct “fraudulent” does not make it so.

Evidently, the allegations in the Complaint do not constitute the type of
extreme despicable conduct, or conduct of such a shocking character requisite for a
punitive damages claim. Further, Plaintiff's allegations do not support a claim for
punitive damages. Thus, pursuant to Federal Rule of Civil Procedure 12(f), the Court

should strike Plaintiff's claims for punitive damages from the Complaint as an

 

 

-10-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 
Case }:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 11o0f12 Page ID #:196

1 || improper and unsupported claim of relief.

2 b. Plaintiff’s Cause of Action for Breach of Contract Fails Because

3 Sedgwick Paid Plaintiff’s Claim Pursuant to the Policy Terms

4 In its Breach of Contract cause of action, Plaintiff alleges Plaintiff paid all

5 || premiums due under the Policy and performed all obligations under the Policy

6 || required to be performed by it. See Complaint at § 16. The Policy was in effect on the
7 || date of loss. Jd. Plaintiff further alleges Accelerant breached its contractual duties by
8 || failing to pay benefits owed under the Policy. /d. at ¢ 17. Finally, Plaintiff alleges

9 || that as a result of Accelerant’s breach, Plaintiff suffered damages under the Policy

10 || and suffered incidental and consequential damages naturally flowing from the breach.
11 |) Id. at J 18-19.

12 To prevail on a cause of action for breach of contract, a plaintiff must prove (1)
13 || the contract; (2) the plaintiff's performance of the contract or excuse for

14 || nonperformance; (3) the defendant’s breach; and (4) the resulting damage to the

15 || plaintiff. Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (2014).

16 Here, Plaintiff alleged a “Breach of Contract” cause of action and established
17 || the existence of the contract and Plaintiff's performance of the contract. However,

18 || Plaintiff cannot establish a breach or resulting damage based on lack of payment

19 | under the Policy because Sedgwick paid Plaintiff's claim on January 12, 2023.

20 Plaintiff therefore did not suffer requisite damages to prevail on a breach of

21 || contract cause of action. See Maxwell v. Fire Ins. Exchange, 60 Cal. App. 4th 1446,
22 || 1447-48 (1998), wherein the trial court held, and the appellate court affirmed, that

23 || lack of proof of financial loss other than an alleged delay in payment omitted the

24 || “damages” element of the plaintiff's breach of contract cause of action. Here,

25 || Plaintiff claims other damages, such as lost wages, but has yet to provide
documentation substantiating those damages. Whether the payment by Sedgwick was
delayed or unreasonably withheld is a different issue and has no bearing on the

breach of contract cause of action.

 

 

-II-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 

 
 

Case #:23-cv-00048-SSS-KK Document 12 Filed 02/17/23 Page 12 of 12 Page ID #:197

1 Since Sedgwick has now paid the claim, the breach of contract cause of action
2 || fails. There is no breach of contract since the claim was paid under the Policy and all

3 | of the Policy terms were complied with by both parties. Therefore, Accelerant

4 || respectfully requests that the Court agree to dismiss the Breach of Contract cause of
5 || action.

611 V. CONCLUSION

7 For the foregoing reasons, Accelerant respectfully requests that the Court grant

8 || Accelerant’s Motion to Strike Punitive Damages from Plaintiff's Complaint, as

9 || specifically set forth in Accelerant’s Notice of Motion to Strike Portions of Plaintiff's
10 || Complaint, as an improper and unsupported claim for relief. Accelerant also
11 |} respectfully requests that the Court dismiss Plaintiff's Breach of Contract Cause of
12 || Action because Sedgwick paid Plaintiff's claim.
13

14 || Respectfully submitted,
15 | Dated: February 17, 2023

 

 

16

17 By: |

18 Matthew S. Jonés, Esq.

Mary K. Planchet, Esq.

19 Attorneys for Defendant

20 ACCELERANT SPECIALTY

5 INSURANCE COMPANY
1

22

23

24

25

 

 

-|2-
DEFENDANT ACCELERANT’S MOTION TO STRIKE PUNITIVE DAMAGES FROM PLAINTIFF’S COMPLAINT AND
MOTION TO DISMISS PLAINTIFF’S BREACH OF CONTRACT CAUSE OF ACTION

 

 
